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                                         U.S. Department of Justice

                                                    United States Attorney
                                                    Southern District of New York
                                                    The Silvio J. Mollo Building
                                                    One Saint Andrew's Plaza
                                                    New York, New York 10007



                                                     April 17, 2019

                                                                                   USDCSDNY
BYECF
                                                                                   DOCUMENT
The Honorable Richard M. Berman                                                    ELECTRONICALLY FILED ,,,
United States District Judge                                                       DOC#:
Southern District of New York
500 Pearl Street
New York, New York 10007
                                    MEMO HlDOli;?1-
   Re:     United States v. Richard Gaffey and Harald Joachim von der Goltz, 18 Cr. 693 (RMB)

Dear Judge Berman:

        The Government respectfully submits this letter, with the consent of defense counsel, to
respectfully request an extension to file its opposition to the Defendants' Motion for a Bill of
Particulars (Dkt. No: 59) (Apr. 11, 2019), which is presently due on April 23, 2019 (see Dkt. No.
66). The Government requests an extension until May 2, 2019 to respond.

        The Government requests this brief extension to file its opposition for two reasons. First,
the Government has been engaging in discussions with the defendants in an effort to provide to
them additional information relevant to their requests. Accordingly, additional time would allow
for the Government to continue these discussions and provide certain information that will likely
obviate certain specific requests for particulars. Second, the undersigned will be leaving the U.S.
Attorney's Office on April 26, 2019, and AUSA Thane Rehn is out of the office until the week of
April 29, 2019. Accordingly, an approximately week-long extension, until May 2, 2019, would
allow for the Government to respond upon the return of AUSA Rehn.
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        A proposed endorsement for the Court's consideration is below.


                                            Respectfully submitted,

                                            GEOFFREY S. BERMAN
                                            United States Attorney for the
                                            Southern District of New York


                                        By: /s/ Sarah E. Paul
                                            Sarah E. Paul
                                            Thane Rehn
                                            Assistant United States Attorneys
                                            (212) 637-2326/2354

cc:     Defense Counsel (by ECF)


ENDORSEMENT:

      On consent of the Defendants, the Government's request for an extension to respond to the
Defendants' Motion for a Bill of Particulars (Dkt. No. 59) by May 2, 2019 is hereby GRANTED.

SO ORDERED.

Date:      April ) 8 , 2019
           New York, New York



                                            HONORABLE RICHARD M. BERMAN
                                            UNITED STA TES DISTRICT JUDGE
